                  Case 4:91-cr-00111-LGW-CLR Document 666 Filed 12/15/15 Page 1 of 1
AO 247 (Rev. l1lll)     OrderRegarding                                to I 8 U.S.C.$ J 582(c)(2)
                                     MotionliorSeitenceReductionPursuant                                     PaBeI of2 (Page2 Not for PublioDisclosure)


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                                                                       for the
                                                           SouthemDishict of Georgia
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                                                              SavannahDivision
                                                                                                                rLtRii
                      UnitedStatesof America

                                                                              C a s eN o :   4 : 9 l C R 0 0 1l -l 5
                            LamarRoberson
                                                                              USMNo: 07595-085
DateofOriginal Judgrnent:        December 6, l99l
                                         --z0r
Date of PreviousAminded Judgment:sdFffi,                                      BrentSavage
llJseDateof kl        Amendetl
                            Judgmenrif Any)                                   Defendant's Attotney


                  ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                          PURSUANTTo 18U.S.C.$ 3s82(c)(2)
       Upon motionof E the defendant I the Directorofthe BureauofPrisons f] the coufi under18U.S.C.
$ 3582(cX2)for a reductionin thetermof imprisonment imposedbasedon a guidelinesentencing    rangethathas
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing        Commission  pursuantto 28 U.S.C.
g 99a(u),andhavingconsidered   suchmotion,andtakinginto accountthe policystatement   setforth atUSSG$ 1B1.10
andthe sentencing factorssetforth in 18U.S.C.$ 3553(a),to the extentthatthey areapplicable,
IT IS ORDEREDthatthemotionis:
       n DENIED.  tr GRANTED andthe defendant'spreviouslyimposedsentenceof imprisonment(asre|lected
                                                                                                  in
the lastjudgmeht tssued)of                        Life                  months is reduced lo                             360months
                                               (Complete Puts I and II of Page 2 vhen notion is gahted)




Exceptasotherwiseprovided,all provisionsofthejudgmentdated                                                                      in effect.
IT IS SO ORDERED.

OrderDate:                                      ry/,
                                                                    DudleyH. Bowen,[.
EffectiveDate:                                                      UnitedStatesDisfiict Judge                _
                        (if dilfercntfron order date)                                                         ame iirle
                                                                                                                "nd
